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APPENDIX A
Case 1:02-cv-00020-BLW Document 172-1 Filed 12/01/15 Page 2 of 7

IN TRE DISTRICT COURT OF THE SECOND JUDICIAL DISTRICT
STATE OF IDAHO, IN AND FOR THE COUNTY OF CLEARWATER

STATE OF IDAHG, CASE NO. CR1981-8495

Piainiiff,

ORDER VACATING
vs. JUDGMENT OF CONVICTION
GENE FRANCIS STUART

Defendant.

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This matter came on for hearing on November 17, 2015, with the
Defendant personally appearing in court with counsel, Teresa Hampion, and the
State of idaho represented by Clearwater County Prosecuting Attorney, Clayne
Tyler. The parties submitted a Rule 11 Plea Agreement (“Agreement”) of the
parties, which was previously had been incorporated by the parties in their
Stioulation to Grant Conditional Writ of Habeas Corpus in United States District
Caurt for the State of idaho (CV-02-020-BLW). The Agreement provided, among
other matters, that the Defendant's previous conviction for Murder in the First
Degree and subsequent sentence to death entered on December 9, 1982, be
vacated.

Clayne Tyler, Clearwater County Prosecuting Attorney, moved, in open
court, for vacation of the Defendant’s Judgment of Conviction, entered on

December 9, 1982 and the Defendant Gene Francis Stuari and his counsel,

Order vacating conviction-1

 
Case 1:02-cv-00020-BLW Document 172-1 Filed 12/01/15 Page 3 of 7

Teresa Hampton, of the Federal Defender Servicas of idaho, stioulated to such
vacation. The finds that good cause exists for the vacation of the Defendant's
Judgment of Conviction, entered on December 9, 1882 and that the interest of
justice are served by said vacation.

Defendani’s Judgment of Conviction, entered on December 9, 1982, in
the above matier is hereby VACATED,

It is so ordered, this 25th day of November, 2015 nunc pro tunc for the
17" day of November, 2015.

 

* Giegory Fitzitaurice
District Judge:

x

CERTIFICATE OF SERVICE
|, the uadersigne’ Deputy Clerk of the above entitled Court, do hereby
certify that on this Asis day of November, 2015, | served a irue and correct

 

 

copy of the Order Vacating Judgment of Conviction to:

L. LaMont Anderson

Deputy Attorney General U.S. Mai
Chief, Capital Litigation Unit  _BaxEryna’ |
PO. Box 83720

Boise, ID 83729-0010

Teresa A. Hampton

 

Federal Defender Services of Idaho U.S. Mail

702 W. Idaho, Suite 900 Fax Eyvig; |

Boise, ID 83729

Clayne Tyler

Prosecuting Atiorney, Clearwater County “A an eae ‘vial Prurthenas Mo ‘|
P.O, Box 2627

Orofino, ID 83544

 

  
  

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Order vacating conviction-2
Case 1:02-cv-00020-BLW Document 172-1 Filed 12/01/15 Page 4 of 7

APPENDIX B
Case 1:02-cv-00020-BLW Document 172-1 Filed 12/01/15 Page 5of7

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Up,

IN THE DISTRICT COURT OF THE SECOND JUDICIAL DISTRICT
OF THE STATE OF IDAHO, IN AND FOR THE COUNTY OF CLEARWATER

STATE OF IDAHO, )
} Case No. CR1984-8485
Plaintiff, )
Vs. ) JUDGMENT OF CONVICTION
)
GENE FRANCIS STUART }
)
Defendant. )

The defendant pled guilty to Murder by Torture in the Second Degree, a
felony, in violation of Idaho Code § 18-4001 and 18-4003(g). Prior to the
defendant's plea of guilly the defendant was advised of the charge, the maximum
and minimum possible punishments, the right to trial by jury, the right to confront
witnesses who would testify against the defendant at trial, the right to subpoena
witnesses on the defendant's behalf, the presumption of innocence, and the right
against seif-incrimination, The defendant understood the charge, the possible
punishments, and understood that a plea of guilty waived the right to trial by jury,
the right to confront witnesses who wouid testify against the defendant at tril,
the right against self-incrimination, the presumption of innocence, and any
potential defenses to the charge. The defendant's plea was given knowingly,
freely and voluntarily. After inquiry the court found a factual basis for the
defendant's plea.

On the 17 day of November, 2015, the defendant personally appeared in
court with counsel, Teresa Hampton, and the State of idaho was represented by

JUDGMENT OF CONVICTION-1

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Clearwater County Prosecuting Attorney, Clayne Tyler, at the time scheduled for
sentencing.

The parties waived completion of @ pre-sentence report and requested
immediate sentencing. After considering matters in mitigation, matters in
aggravation, and there being no legal cause shown why judgment should not be
pronounced, the court proceeded to pronounce sentence as follows:

IT IS ORDERED that the defendant is committed to the custody of the
Idaho State Board of Corrections for a determinate life sentence during which the
defendant shall not be eligible for parole or discharge or credit or reduction of
sentence for good conduct (except as provided by Idaho Code section 20-101D).

IF IS FURTHER ORDERED that pursuant to the agreement of the parties,
the defendant shall pay no court costs, fines, restitution or costs of incarceration.

THE COURT FINDS that pursuant to the agreement of the parties and the
statement of the defendant, the defendant knowingly, freely and voluntarily
waived his right to seek a reduction of his sentence pursuant to Idaho Criminal
Rule 35.

THE COURT FURTHER FINDS that pursuant to the agreement of the
parties, the defendant knowingly, freely and voluntarily waived his right to appeal
this judgment and sentence.

SO ORDERED this 25th day of November, 2015 nunc pro tunc for the
47" day of November, 2015.

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JUDGMENT OF CONVICTION-2

 
Case 1:02-cv-00020-BLW Document 172-1 Filed 12/01/15 Page 7 of 7

CERTIFICATE OF MAILING

], the undersigned Deputy Clerk of the above entitled Court, do hereby
certify that a copy of the foregoing was mailed to, faxed to, or delivered by me on

the ft day of November, 2015, to:

L. LaMont Anderson
Deputy Attorney General
Chief, Capital Litigation Unit
P.O. Box 83720

Boise, ID 83729-0010

Teresa A. Hamptori

Federal Defender Services of Idaho
702 W. Idaho, Suite $00

Boise, 1D 83729

Clayne Tyler

Prosecuting Attorney, Clearwater County
P.O. Box 2627

Orofine, ID 83544

idaho Board of Corrections
brett Plaines

Central Records

CCD Sentencing Team

Defendant

tESo ~

 

JUDGMENT OF CONVICTION-3

U.S. Mail
Faxes |

US. Mail
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/ US Mailbetinas Ue; |

delivered via Jail

US. Mail

ie Bird, Clerk of Court

py: adAdy b.. Hi,

Deputy Clerk

  

 
